Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 1 of 28




                              UNITED ST ATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    23-20454-CR-BLOOM/TORRES
                           Case No. - ------------
                                    15 U.S.C. § 78dd-2                 MP
                                    18 u.s.c. § 371
                                    18 U.S.C. § 1956(h)          Nov 28, 2023
                                    18 U.S.C. § 1956(a)(l)(B)(i)          MIAMI

                                    18 U.S.C. § 1956(a)(2)(A)
                                    18 U.S.C. § 981(a)(l)(C)
                                    18 U.S.C. § 982(a)(l)

  UNITED STATES OF AMERICA

 v.

  CARL ALAN ZAGLIN,
  ALDO NESTOR MARCHENA, and
  FRANCISCO ROBERTO COSENZA CENTENO,

                                        Defendants.
 - - - - - - - - - - - - - - - - - - -I
                                           INDICTMENT

         The Grand Jury charges that:

                                    GENERAL ALLEGATIONS

         At all times relevant to this Indictment:

                                  Relevant Statutory Background

         1.      The Foreign Corrupt Practices Act of 1977, as amended, Title 15, United States

  Code, Sections 78dd-1, et seq. (the "FCPA"), was enacted by Congress for the purpose of, among

  other things, making it unlawful for certain classes of persons and entities to act corruptly in

  furtherance of an offer, promise, authorization, or payment of money or anything of value to a

  foreign government official for the purpose of influencing the foreign official, inducing the foreign

  official to take or omit certain acts, and securing an improper advantage in order to assist those
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 2 of 28




  classes of persons and entities in obtaining or retaining business for, or directing business to, any

  person.

                                  Relevant Individuals and Entities

            2.   "Georgia Company 1," an entity whose identity is known to the Grand Jury, was a

  limited liability company headquartered in Marietta, Georgia. Georgia Company 1 owned and

  operated a factory in Honduras that manufactured law enforcement uniforms and accessories.

  Georgia Company 1 was a "domestic concern" as that term is defined in the FCP A, Title 15, United

  States Code, Section 78dd-2(h)(l)(B).

            3.   CARL ALAN ZAG LIN was a citizen of the United States and a majority owner

  and Chief Executive Officer of Georgia Company 1. CARL ALAN ZAG LIN was a "domestic

  concern," an "officer," "director," "employee," and "agent" of a "domestic concern," and a

  "stockholder" acting on behalf of a "domestic concern," as those terms are used in the FCPA, Title

  15, United States Code, Sections 78dd-2(a) and 78dd-2(h)(l).

            4.   "Executive 1," an individual whose identity is known to the Grand Jury, was a

  citizen of the United States and minority owner and senior executive of Georgia Company 1.

  Executive 1 was a "domestic concern," an "officer," "director," "employee," and "agent" of a

  "domestic concern," and a "stockholder" acting on behalf of a "domestic concern," as those terms

  are used in the FCPA, Title 15, United States Code, Sections 78dd-2(a) and 78dd-2(h)(l).

            5.   Luis Berkman was a dual citizen of the United States and Bolivia and the Vice

  President of International Sales at Georgia Company 1. Luis Berkman was the father of Bryan

  Berkman and related by marriage to ALDO NESTOR MARCHENA. Luis Berkman was a

  "domestic concern" and an "employee" and "agent" of a "domestic concern," as those terms are

  used in the FCPA, Title 15, United States Code, Sections 78dd-2(a) and 78dd-2(h)(l).



                                                    2
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 3 of 28




         6.      Comite Tecnico del Fideicomiso para la Administraci6n del Fonda de Protecci6n y

  Seguridad Poblacional ("TASA") was a Honduran governmental agency responsible for, among

  other things, procuring uniforms and other goods for the Honduran National Police. TASA was

  controlled by the government of Honduras, performed a function that the government of Honduras

  treated as its own, and was a "department, agency, and instrumentality" of the Honduran

  government as those terms are used in the FCPA, Title 15, United States Code, Section 78dd-

  2(h)(2)(A).

         7.      FRANCISCO ROBERTO COSENZA CENTENO was a citizen of Honduras

  and the Executive Director at TASA. FRANCISCO ROBERTO COSENZA CENTENO was

  a "foreign official" as that term is used in the FCPA, Title 15, United States Code, Section 78dd-

  2(h)(2)(A) . FRANCISCO ROBERTO COSENZA CENTENO controlled multiple companies

  and bank accounts in Central America and the United States that were used to receive and conceal

  bribe payments.

         8.      "Offshore Front Company 1," an entity whose identity is known to the Grand Jury,

  was a front company controlled by FRANCISCO ROBERTO COSENZA CENTENO.

  Offshore Front Company 1 was incorporated in Belize in or around 20 16 with an address in Belize

  City, Belize. FRANCISCO ROBERTO COSE ZA CENTENO used bank accounts in the

  name of Offshore Front Company 1 to receive bribe payments from ALDO NESTOR

  MARCHE A, including an account at Belize Bank 1 ending in 2941 ("Offshore Front Company

  1 Account 294 1").

         9.      "U.S. Front Company l ," an entity whose identity is known to the Grand Jury, was

  a second front company controlled by FRANCISCO ROBERTO COSENZA CENTENO. U.S.

  Front Company 1 was incorporated in Florida in or around February 20 17 with an address in Boca



                                                  3
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 4 of 28




 Raton, Florida, in the Southern District of Florida.      FRANCISCO ROBERTO COSENZA

 CENTENO used a bank account in the name of U.S. Front Company 1 at U.S . Bank 1, the identity

 of which is known to the Grand Jury, ending in 3264 ("U.S. Front Company 1 Account 3264") to

 receive bribe payments from ALDO NESTOR MARCHENA. U.S. Front Company 1 Bank

 Account 3264 was opened in or around March 20 17 with the assistance of ALDO NESTOR

 MARCHENA.

         10.     "Foreign Official 1," an individual whose identity is known to the Grand Jury, was

  a citizen of Honduras and a senior official at TASA who oversaw the work of FRANCISCO

  ROBERTO COSENZA CENTENO. Foreign Official 1 was a "foreign official" as that term is

  used in the FCPA, Title 15, United States Code, Section 78dd-2(h)(2)(A).

         11 .    "Offshore Front Company 2," an entity whose identity is known to the Grand Jury,

 was a front company incorporated in Belize in or around 2015 with an address in Belize City,

 Belize. Foreign Official 1 used a bank account in the name of Offshore Front Company 2 at Belize

 Bank 1 ending in 1951 ("Offshore Front Company 2 Account 1951 ") to receive bribe payments

 from ALDO NESTOR MARCHENA.

         12.     ALDO NESTOR MARCHENA was a dual citizen of the United States and Peru

  and a resident of Palm Beach County in the Southern District of Florida. ALDO NESTOR

  MARCHENA controlled a series of entities with listed addresses in the Southern District of

  Florida, including "Florida Company 1," a limited liability company incorporated in Florida with

  an address in Boca Raton, Florida, the identity of which is known to the Grand Jury; "Florida

  Company 2," a limited liability company incorporated in Florida with an address in Boca Raton,

  Florida, the identity of which is known to the Grand Jury ; "Florida Company 3," a limited liability

  company incorporated in Florida with an address in Miami, Florida, the identity of which is known



                                                   4
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 5 of 28




 to the Grand Jury; "Florida Company 4," a limited liability company incorporated in Wyoming

  with an address in Boca Raton, Florida, the identity of which is known to the Grand Jury ; and

 "Florida Company 5," a corporation incorporated in Florida with an address in Boca Raton,

  Florida, the identity of which is known to the Grand Jury. Florida Companies 1 through 5 were

  each a "domestic concern," as that term is defined in the FCPA, Title 15, United States Code,

  Section 78dd-2(h)(l)(B). ALDO NESTOR MARCHENA was a "domestic concern" and a

 "director," "employee," and "agent" of a "domestic concern" as those terms are used in the FCPA,

 Title 15, United States Code, Sections 78dd-2(a) and 78dd-2(h)(l).

         13.    ALDO NESTOR MARCHENA controlled numerous bank accounts to include

 the following, all of which were opened and located in the Southern District of Florida:

                    a. An account in the name of Florida Company 1 ending in 6447 at U.S. Bank

                       2, the identity of which is known to the Grand Jury ("Florida Company 1

                       Account 644 7");

                    b. An account in the name of Florida Company 1 ending in 7803 at U.S. Bank

                       1, the identity of which is known to the Grand Jury ("Florida Company 1

                       Account 7803");

                    c. An account in the name of Florida Company 2 ending in 7915 at U.S. Bank

                       1 ("Florida Company 2 Account 7915");

                   d. An account in the name of Florida Company 3 ending in 7793 at U.S . Bank

                       1 ("Florida Company 3 Account 7793 ");

                   e. An account in the name of Florida Company 4 ending in 9360 at U.S. Bank

                       1; and




                                                 5
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 6 of 28




                    f.   An account in the name of Florida Company 5 ending in 2228 at U.S. Bank

                         3.

         14.    " ew York Company 1," an entity whose identity is known to the Grand Jury, was

  incorporated in the State ofNew York with headquarters in Pennsylvania. New York Company 1

 was a manufacturer of military and police equipment, including tear gas containers. New York

  Company 1 was a "domestic concern" as that term is defined in the FCPA, Title 15, United States

  Code, Section 78dd-2(h)(l)(B).

         15.    "Florida Company 6," an entity whose identity is known to the Grand Jury, was a

  limited liability company headquartered in the Southern District of Florida. Florida Company 6

  was a "domestic concern" as that term is defined in the FCPA, Title 15, United States Code,

  Section 78dd-2(h)(l)(B).

         16.    Florida Company 6 controlled a bank account in Florida Company 6' s name at U.S.

  Bank 3 ending in 0506 ("Florida Company 6 Account 0506").

         17.    Bryan Berkman was a dual citizen of the United States and Bolivia and a resident

  of Broward County in the Southern District of Florida. Bryan Berkman was the son of Luis

  Berkman and related by marriage to ALDO NESTOR MARCHENA.                   Bryan Berkman, at

  different periods during the duration of the scheme, was an employee and agent of Georgia

  Company 1, New York Company 1, and Florida Company 6. Bryan Berkman was a "domestic

  concern," and an "employee" and "agent" of a "domestic concern," as those terms are used in the

  FCPA, Title 15, United States Code, Sections 78dd-2(a) and 78dd-2(h)(l).




                                                 6
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 7 of 28




                                            COUNT 1
                     Conspiracy to Violate the Foreign Corrupt Practices Act
                                        (18 u.s.c. § 371)

          1.      The General Allegations section of this Indictment is re-alleged and incorporated

  by reference as though fully set forth herein.

          2.      Beginning in or around March 2015, and continuing through in or around

 November 2019, in Miami-Dade and Palm Beach Counties, in the Southern District of Florida,

  and elsewhere, the defendants,

                                     CARL ALAN ZAGLIN and
                                    ALDO NESTOR MARCHENA,

  did knowingly and willfully, that is, with the intent to further the objects of the conspiracy,

  combine, conspire, confederate, and agree with each other and with Executive 1, Luis Berkman,

  Bryan Berkman, and others known and unknown to the Grand Jury, to commit an offense against

  the United States, that is: being a domestic concern, and an officer, director, employee, and agent

  of a domestic concern, and a stockholder acting on behalf of a domestic concern, willfully and

  corruptly to make use of the mails and means and instrumentalities of interstate commerce in

  furtherance of an offer, payment, promise to pay, and authorization of the payment of any money,

  offer, gift, promise to give, and authorization of the giving of anything of value, to a foreign official

  or to a person, while knowing that all or part of such money or thing of value would be and had

  been offered, given, or promised to a foreign official, for purposes of (i) influencing acts or

  decisions of such foreign official in his or her official capacity; (ii) inducing such foreign official

  to do or omit to do acts in violation of the lawful duty of such official; (iii) securing any improper

  advantage; and (iv) inducing such foreign official to use ms or her influence with a foreign

  government and agencies and instrumentalities thereof to affect or influence acts or decisions of

  such government and agencies and instrumentalities, in order to assist CARL ALAN ZAGLIN,


                                                      7
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 8 of 28




 ALDO NESTOR MARCHENA, Executive 1, Luis Berkman, Bryan Berkman, and others in

 obtaining and retaining business for and with, and directing business to, Georgia Company 1, New

 York Company 1, and others, in violation of Title 15, United States Code, Section 78dd-2.

                              Object and Purpose of the Conspiracy

         3.      It was the object and purpose of the conspiracy for CARL ALAN ZAGLIN,

 ALDO NESTOR MARCHENA, and their co-conspirators to offer, promise to pay, and pay

 bribes to Honduran government officials in order to obtain and retain contracts with, and receive

 payment from, the Honduran government, for and with, and direct business to, Georgia Company

  1, New York Company 1, and others.

                              Manner and Means of the Conspiracy

         The manner and means by which CARL ALAN ZAGLIN, ALDO NESTOR

  MARCHENA, and their co-conspirators sought to accomplish the object and purpose of the

  conspiracy included, among other things, the following:

         4.      CARL ALAN ZAGLIN, Executive 1, Luis Berkman, Bryan Berkman, and others

  offered to pay, promised to pay, and authorized the payment of bribes, directly and indirectly, to

  and for the benefit of Honduran government officials, including FRANCISCO ROBERTO

  COSENZA CENTENO and Foreign Official 1, in order to win contracts with, and secure

 payment from, T ASA.

         5.      CARL ALAN ZAGLIN, Executive 1, Luis Berkman, Bryan Berkman, and others

  agreed with ALDO NESTOR MARCHENA to have ALDO NESTOR MARCHENA pay

  bribes to FRANCISCO ROBERTO COSENZA CE TENO, Foreign Official 1, and others.

         6.      ALDO NESTOR MARCHENA used U.S. and overseas bank accounts and

  entities to transfer bribe payments to and for the benefit of FRANCISCO ROBERTO



                                                  8
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 9 of 28




 COSENZA CENTENO, Foreign Official 1, and others.                 ALDO NESTOR MARCHENA

 received a commission for his assistance in delivering the payments to Honduran government

 officials.

         7.      CARL ALA         ZAGLIN, ALDO NESTOR MARCHENA, Executive 1, Luis

  Berkman, Bryan Berkman, and others took steps to conceal both (i) their agreement to pay bribes

 to FRANCISCO ROBERTO COSENZA CENTENO, Foreign Official 1, and others, and (ii)

 their payments of bribes to FRANCISCO ROBERTO COSENZA CENTENO, Foreign Official

  1, and others, including by creating sham contracts and fraudulent invoices, and by opening bank

  accounts in the Southern District of Florida in the name of front companies.

                                              Overt Acts

         In furtherance of the conspiracy, and to accomplish the purpose and objects thereof, CARL

  ALAN ZAGLI , ALDO NESTOR MARCHENA, and their co-conspirators committed and

  caused to be committed, in the Southern District of Florida and elsewhere, at least one of the

  following overt acts, among others:

                                     The First Uniform Contract

          1.     On or about April 28, 2015 , Bryan Berkman, Executive 1, and others traveled from

 the United States to Tegucigalpa, Honduras, to meet with representatives of the Honduran ational

  Police regarding Georgia Company 1's bid to sell uniforms and accessories to TASA for the

  Honduran National Police.

         2.      On or about June 25, 2015 , Executive 1, on behalf of Georgia Company 1, executed

  a contract with TASA whereby Georgia Company 1 agreed to provide the Honduran National

  Police with uniforms and accessories in return for over $4.8 million (the "First Unif01m Contract").

  Foreign Official 1 signed the First Uniform Contract as a legal representative of T ASA.



                                                   9
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 10 of 28




         3.     On or about September 9, 2015, CARL ALAN ZAGLIN met with Luis Berkman

  and ALDO NESTOR MARCHENA at Florida Company 1's office in Miami, Florida, in the

  Southern District of Florida, to discuss making bribe payments to Honduran government officials.

         4.     On or about October 6, 2015, CARL ALAN ZAGLIN, on behalf of Georgia

  Company 1, and ALDO NESTOR MARCHENA, on behalf of Florida Company 1, executed a

  sham "Brokerage Agreement" to conceal the bribe payments to Honduran government officials.

  The Brokerage Agreement required Georgia Company 1 to pay Florida Company 1 25.4 percent

  of the revenue Georgia Company 1 received from TASA under the First Uniform Contract.

         5.     On or about November 9, 2015, Luis Berkman emailed FRANCISCO ROBERTO

  COSENZA CENTENO regarding the status of payment to Georgia Company 1 pursuant to the

  First Uniform Contract.

         6.     On or about January 13 , 2016, CARL ALAN ZAGLIN emailed ALDO NESTOR

  MARCHENA copies of five invoices totaling $3 ,108,863 .72 from Georgia Company 1 to TASA.

  In his email, CARL ALAN ZAG LIN wrote, "I have attached copies of the invoices that we will

  be paying commissions on."

         7.     On or about January 13 , 2016, ALDO NESTOR MARCHENA emailed CARL

  ALAN ZAGLIN five invoices from Florida Company 1 to Georgia Company 1 totaling

  $789,651.38, or 25.4 percent of$3,108,863.72.

         8.     On or about January 13, 2016, CARL ALAN ZAGLIN caused Georgia Company

  1 to wire transfer approximately $393 ,100.55 to Florida Company 1 Account 6447.

         9.     On or about January 14, 2016, CARL ALAN ZAGLIN caused Georgia Company

  1 to wire transfer approximately $396,550.83 to Florida Company 1 Account 6447.




                                                  10
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 11 of 28




         10.     On or about February 23, 2016, CARL ALA             ZAGLIN emailed ALDO

  NESTOR MARCHENA, writing that he wanted "to do a wire transfer to you as follows: ...

  739,110.09 X 00.254 = $187,733.94 Brokerage Fee Due[.]"

         11.     On or about February 25, 20 16, ALDO NESTOR MARCHE A caused his agent

  to email CARL ALAN ZAGLIN an invoice addressed to Georgia Company 1 seeking payment

  of $187,733.94. The description on the invoice read "Brokerage Fee Due." ALDO NESTOR

  MARCHENA was copied on the email.

         12.     On or about February 25, 2016, CARL ALAN ZAGLIN caused Georgia Company

  1 to wire transfer approximately $187,733 .94 to Florida Company 1 Account 6447.

         13 .    On or about March 11 , 2016, in response to an invoice he received from Florida

  Company 1 seeking $282,633.38, CARL ALAN ZAGLIN caused Georgia Company 1 to wire

  transfer approximately $282,633.38 to Florida Company 3 Account 7793.

         14.     On or about September 30, 20 16, ALDO NESTOR MARCHENA caused Florida

  Company 2 to wire transfer approximately $20,000 from Florida Company 2 Account 7915 in

  Boca Raton, Florida, to Offshore Front Company 1 Account 2941 controlled by FRANCISCO

  ROBERTO COSENZA CENTENO in Belize City, Belize.

         15.     On or about October 1, 2016, Luis Berkman emailed FRANCISCO ROBERTO

  COSENZA CENTENO a screenshot confirming the execution of the $20,000 wire transfer

  referred to in paragraph 14.

                                  The Second Uniform Contract

         16.     In or around June 2016, Luis Berkman, on behalf of Georgia Company 1, submitted

  a bid to TASA to sell additional uniforms and accessories for the Honduran National Police for

  approximately $5.6 million.



                                                11
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 12 of 28




         17.     On or about October 26, 2016, Executive 1, on behalf of Georgia Company 1,

  executed a contract with TASA whereby Georgia Company 1 agreed to provide the Honduran

  National Police with uniforms and accessories in return for over $5.6 million (the "Second

  Uniform Contract").     Foreign Official 1 signed the Second Uniform Contract as a legal

  representative of T ASA.

         18.     On or about January 6, 2017, ALDO NESTOR MARCHENA met with

  FRANCISCO ROBERTO COSENZA CENTENO in Miami, Florida, in the Southern District

  of Florida, to discuss opening U.S . Front Company 1.

         19.     On or about February 3, 2017, Executive 1 emailed CARL ALAN ZAGLIN a

  copy of the Second Uniform Contract and stated in the email, "Signed Oct 26."

         20.     On or about February 6, 2017, CARL ALAN ZAGLIN and ALDO NESTOR

  MARCHENA executed a second sham "Brokerage Agreement," backdated to October 26, 2016,

  to conceal subsequent bribe payments to Honduran government officials.

         21.     On or about February 9, 2017, CARL ALAN ZAG LIN caused Georgia Company

  1 to wire transfer approximately $198,090.38 to Florida Company 1 Account 6447.

         22.     On or about February 16, 2017, ALDO NESTOR MARCHENA caused Florida

  Company 1 to wire transfer approximately $50,000 from Florida Company 1 Account 7803 to

  Offshore Front Company 2 Account 1951 controlled by Foreign Official 1.

         23.     On or about February 21 , 20 17, ALDO NESTOR MARCHENA caused U.S.

  Front Company 1 to be incorporated in Boca Raton, Florida, in the Southern District of Florida for

  the benefit of FRANCISCO ROBERTO COSENZA CENTENO.

         24.     On or about February 24, 2017, CARL ALAN ZAGLIN caused Georgia Company

  1 to wire transfer approximately $43 ,359.17 to Florida Company 1 Account 7803.



                                                  12
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 13 of 28




            25.   On or about March 2, 20 17, ALDO NESTOR MARCHENA caused U.S . Front

  Company 1 Account 3264 to be opened at a branch of U.S. Bank 1 in Broward County, Florida,

  in the Southern District of Florida for the benefit of FRANCISCO ROBERTO COSE ZA

  CENTENO.

            26.   On or about March 17, 2017, CARL ALAN ZAGLIN emailed Luis Berkman

  regarding an overdue payment from T ASA, writing that if the Honduran National Police "transfer

  does not come in tomorrow, Friday, I am out of options!! "

            27.   On or about March 17, 2017, Luis Berkman replied that he "spoke with [Executive

  1] yesterday and told him that HNP payment will be send [sic] 3/20 (Monday)[.] [FRANCISCO

  ROBERTO COSENZA CENTENO] will try to talk to his boss to see if he can do something

  today."

            28.   On or about April 3, 2017, CARL ALAN ZAGLIN caused Georgia Company 1 to

  wire transfer approximately $263 ,264.02 to Florida Company 1 Account 7803.

            29.   On or about April 10, 2017, ALDO NESTOR MARCHENA caused a wue

  transfer of approximately $50,000 from Florida Company 1 Account 7803 to Offshore Front

  Company 2 Account 1951 controlled by Foreign Official 1 in Belize City, Belize.

            30.   On or about April 27, 2017, CARL ALAN ZAGLIN caused Georgia Company 1

  to wire transfer approximately $299,028.19 to Florida Company 1 Account 7803 .

            31.   On or about Apri l 28, 2017, CARL ALAN ZAGLIN emailed Luis Berkman that

  "Aldo should have received the 299k yesterday afternoon. Were you able to get the message that

  the wire had been sent to the people that had the 6:00pm meeting yesterday."

            32.   On or about May 12, 2017, CARL ALAN ZAGLI           caused Georgia Company 1

  to wire transfer approximately $195,221.39 to Florida Company 1 Account 7803.



                                                 13
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 14 of 28




         33.     On or about May 18, 20 17, ALDO NESTOR MARCHENA caused Florida

  Company 1 to wire transfer approximately $14,000 to Offshore Front Company 2 Account 1951

  controlled by Foreign Official 1 in Belize City, Belize.

         34.     On or about May 19, 2017, ALDO NESTOR MARCHENA caused Florida

  Company 1 to wire transfer approximately $14,000 to U.S. Front Company 1 Account 3264

  controlled by FRANCISCO ROBERTO COSENZA CENTENO.

         35.     On or about August 30, 2017, CARL ALAN ZAGLIN caused Georgia Company

  1 to wire transfer approximately $197,149.54 to Florida Company 1 Account 7803 .

                                        The Tear Gas Contract

         36.     On or about October 24, 2016, Bryan Berkman emailed New York Company 1 and

  asked for a quote for tear gas launchers and ammunition to be submitted to FRANCISCO

  ROBERTO COSENZA CENTENO.

         37.     On or about November 9, 2016, Bryan Berkman caused New York Company 1 to

  submit a quote for tear gas launchers and ammunition worth $48 1,964.20 to FRANCISCO

  ROBERTO COSENZA CENTENO at his TASA email address.

         38.     On or about October 9, 20 17, Bryan Berkman sent FRANCISCO ROBERTO

  COSENZA CENTENO a WhatsApp message stating, in Spanish, "Dear [FRANCISCO

  ROBERTO COSENZA CENTENO] , I hope all is well. If you could please try to put some

  pressure on the bank to make the wire transfer today. "

         39.     On or about October 9, 2017, FRANCISCO ROBERTO COSENZA CENTENO

  responded, in Spanish, "They are receiving the money today. I wi ll confirm when BCH [the

  Central Bank of Honduras] PROCESSES IT."




                                                   14
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 15 of 28




            40.   On or about December 11 , 2017, Bryan Berkman emai led a representative of New

  York Company 1: "I know you are working on the 50k for this week. I just wanted to let you

  know that our lobbying for that larger immediate contract is now dependent on us fulfilling my

  lobbyist fees owed from that partial payment."

            41.   On or about December 17, 2017, Luis Berkman sent a WhatsApp message to Bryan

  Berkman, stating: "Tomorrow, you have to deposit at least the first 15 that have already been sent[,

  they are] tied with this issue .. . Tomorrow as soon as you can talk to [ALDO NESTOR

  MARCHENA] and send him the 15 this has to be ready by 4 pm because I have a conference with

  them."

            42.   On or about December 18, 20 17, Bryan Berkman sent a WhatsApp message to

  ALDO NESTOR MARCHENA, stating: "I have an account ending in 6447. Can I wire the the

  [sic] 15k there?"

            43.   On or about December 18, 2017, ALDO NESTOR MARCHENA sent a

  WhatsApp message to Bryan Berkman providing the account details for U.S. Front Company 1

  Account 3264 controlled by FRANCISCO ROBERTO COSENZA CENTE 0 .

            44.   On or about December 18, 2017, Bryan Berkman replied, in Spanish, "[ALDO

  NESTOR MARCHENA] , I cannot send directly to F," in reference to FRANCISCO

  ROBERTO COSENZA CENTENO.

            45.   On or about December 18, 2017, in response to Bryan Berkman' s message referred

  to in paragraph 44, ALDO NESTOR MARCHENA sent a WhatsApp message to Bryan Berkman

  providing the account details for Florida Company 1 Account 7803 and stated, in Spanish, "send

  here. "




                                                   15
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 16 of 28




         46.    On or about December 18, 20 17, Bryan Berkman wire transferred approximately

  $15,025 from Florida Company 6 Account 0506 to Florida Company 1 Account 7803.

         47.    On or about December 22, 20 17, Bryan Berkman wire transferred approximately

  $18,763 from Florida Company 6 Account 0506 to Florida Company 1 Account 7803.

         48.    On or about December 22, 2017, Bryan Berkman sent to ALDO NESTOR

  MARCHENA via WhatsApp a screenshot of a confirmation of the wire transfer referred to in

  paragraph 47. Bryan Berkman added, in Spanish, "for [FRANCISCO ROBERTO COSENZA

  CENTENO]".

         49.    On or about December 26, 20 17, ALDO NESTOR MARCHENA caused a wire

  transfer in the amount of approximately $18,713 to be sent from Florida Company 1 Account 7803

  to U.S. Front Company 1 Account 3264 controll ed by FRANCISCO ROBERTO COSENZA

  CE TENO.

                            2019 Bid for Additional Uniform Contract

         50.    In or around late 201 9, Georgia Company 1 sought to win another contract with

  TASA for the sale of uniforms to the Honduran National Police worth approximately $7.5 million.

         51.    On or about October 10, 20 19, CARL ALAN ZAGLIN, Executive 1, and Luis

  Berkman discussed making bribe payments to FRANCISCO ROBERTO COSENZA

  CE TENO and others on the proposed contract.

         52.    That same day, on or about October 10, 20 19, Luis Berkman called FRAN CISCO

  ROBERTO COSENZA CENTENO to confirm the amount of the bribe to be paid on the

  proposed contract.




                                                16
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 17 of 28




         53.     On or about November 6, 2019, Executive 1 emailed Georgia Company 1's bid for

  the contract to a consultant who was assisting Georgia Company 1 with its contract proposal.

  CARL ALA        ZAGLIN and Luis Berkman were copied on the email.

         All in violation of Title 18, United States Code, Section 371.

                                              COUNT2
                                    Foreign Corrupt Practices Act
                                         (15 U.S.C. § 78dd-2)

         1.      The General Allegations section of this Indictment is re-alleged and incorporated

  by reference as though fully set forth herein.

         2.      On or about November 6, 2019, in St. Lucie County, in the Southern District of

  Florida, and elsewhere, the defendant,

                                        CARL ALAN ZAGLIN

  being a domestic concern and officer, director, employee and agent of a domestic concern, did

  willfully make use of, and aid, abet and willfully cause others to make use of, the mails and means

  and instrumentalities of interstate commerce corruptly in furtherance of an offer, payment, promise

  to pay and authorization of the payment of any money , offer, gift, promise to give and authorization

  of the giving of anything of value to a foreign official, and to a person while knowing that all and

  a portion of such money and thing of value would be and had been offered, given and promised to

  a foreign official, for purposes of: (i) influencing acts and decisions of such foreign official in his

  official capacity; (ii) inducing such foreign official to do and omit to do acts in violation of the

  lawful duty of such official; (iii) securing any improper advantage; and (iv) inducing such foreign

  official to use his influence with a foreign government and agencies and instrwnentalities thereof

  to affect and influence acts and decisions of such government and agencies and instrumentalities,

  in order to assist CARL ALAN ZAGLIN, ALDO NESTOR MARCHENA, Executive 1, Luis

  Berkman, Bryan Berkman, and others in obtaining and retaining business for and with, and

                                                    17
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 18 of 28




  directing business to, Georgia Company 1, New York Company 1, and others, as fo llows: CARL

  ALAN ZAGLIN caused, and aided and abetted, Executive 1 to send an email to a consultant in

  the Southern District of Florida containing Georgia Company l ' s corrupt bid on a contract with

  TASA.

          In violation of Title 15, United States Code, Section 78dd-2, and Title 18, United States

  Code, Section 2.

                                             COUNT3
                              Conspiracy to Commit Money Laundering
                                        (18 U.S.C. § 1956(h))

          1.        The General Allegations section of this Indictment is re-alleged and incorporated

  by reference as though fully set forth herein.

          2.        From in or around March 2015 and continuing through in or around November

  2019, in Miami-Dade and Palm Beach Counties, in the Southern District of Florida, and elsewhere,

  the defendants,

                                   CARL ALAN ZAGLIN,
                              ALDO NESTOR MARCHENA, and
                          FRANCISCO ROBERTO COSENZA CENTENO

  did knowingly and volw1tarily combine, conspire, confederate, and agree with each other and with

  Executive 1, Luis Berkman, Bryan Berkman, Foreign Official 1, and others known and unknown

  to the Grand Jury, to commit offenses defined in Title 18, United States Code, Section 1956,

  namely:

                    a.     to knowingly conduct and attempt to conduct a financial transaction

  affecting interstate and foreign commerce, which financial transaction involved the proceeds of

  specified unlawful activity, knowing the property involved in the financial transaction represented

  the proceeds of some form of unlawful activity, and knowing that the transaction was designed in

  whole and in part to conceal and disgui se the nature, the location, the source, the ownership, and

                                                    18
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 19 of 28




  the control of the proceeds of one or more specified unlawful activities, in violation of Title 18,

  United States Code, Section l 956(a)(l)(B)(i); and ,

                 b.      to knowingly transport, transmit, and transfer, and attempt to transport,

  transmit, and transfer, a monetary instrument and funds from a place in the United States to and

  through a place outside the United States, and to a place in the United States from and through a

  place outside the United States, with the intent to promote the carrying on of one or more specified

  unlawful activities, in violation of Title 18, United States Code, Section 1956(a)(2)(A).

         It is further alleged that the specified unlawful activity is a felony violation of the Foreign

  Corrupt Practices Act, Title 15, United States Code, Section 78dd-2; and an offense against a

  foreign nation, specifically Honduras, involving bribery of a public official, and the

  misappropriation, theft, and embezzlement of public funds by and for the benefit of a public

  official, as provided by Title 18, United States Code, Section 1956(c)(7)(B)(iv).

         All in violation of Title 18, United States Code, Section 1956(h).

                                             COUNT4
                                         Money Laundering
                                    (18 U.S.C. § 1956(a)(l)(B)(i))

         1.      The General Allegations section of this Indictment is re-alleged and incorporated

  by reference as though fully set forth herein.

         2.      On or about October 2, 2020, in Broward and Palm Beach Counties, in the Southern

  District of Florida, and elsewhere, the defendants,

                             ALDO NESTOR MARCHENA and
                        FRANCISCO ROBERTO COSENZA CE TENO,

  did knowingly conduct, aid, abet, and cause others to conduct, and attempt to conduct a financial

  transaction affecting interstate commerce, that is, the transfer of $20,600 from a bank account

  ending in 0506 at U.S. Bank 3 to a bank account ending in 2228 at U.S. Bank 3, which financial


                                                   19
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 20 of 28




  transaction involved the proceeds of a specified unlawful activity, knowing that the property

  involved in the financial transaction represented the proceeds of some form of unlawful activity,

  and knowing that the transaction was designed, in whole and in pmi, to conceal and disguise the

  nature, the location, the source, the ownership, and the control of the proceeds of a specified

  unlawful activity.

         It is further alleged that the specified unlawful activity is a felony violation of the Foreign

  Corrupt Practices Act, Title 15, United States Code, Section 78dd-2; and an offense against a

  foreign nation, specifically Honduras, involving bribery of a public offi cial, and the

  misappropriation, theft, and embezzlement of public funds by and for the benefit of a public

  official, as provided by Title 18, United States Code, Section 1956(c)(7)(B)(iv).

         In violation of Title 18, United States Code, Sections 1956(a)(l)(B)(i) and 2.

                                             COUNTS
                       Engaging in Transactions in Criminally Derived Property
                                         (18 u.s.c. § 1957)

         1.      The General Allegations section of this Indictment is re-alleged and incorporated

  by reference as though fully set forth herein.

         2.      On or about October 8, 2020, in Miami-Dade and Palm Beach Counties, in the

  Southern District of Florida and elsewhere, the defendants,

                               ALDO NESTOR MARCHENA and
                          FRANCISCO ROBERTO COSENZA CENTENO,

  did knowingly engage in, and aid, abet, and cause others to engage in, and attempt to engage in, a

  monetary transaction affecting interstate commerce, by, through, and to a financial institution, in

  criminally derived property of a value greater than $10,000, that is, a transfer in the mnount of

  approximately $19,940.80 from a bank account ending in 9360 at U.S . Bank 1 to a bank account

  ending in 0506 at U.S. Bank 3, such property having been derived from a specified unlawful


                                                   20
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 21 of 28




  activity, and knowing that the property involved in the transaction represented the proceeds of

  some form of unlawful activity.

         It is further alleged that the specified unlawful activity is a felony violation of the Foreign

  Corrupt Practices Act, Title 15, United States Code, Section 78dd-2; and an offense against a

  foreign nation, specifically Honduras, involving bribery of a public official, and the

  misappropriation, theft, and embezzlement of public funds by and for the benefit of a public

  official, as provided by Title 18, United States Code, Section 1956(c)(7)(B)(iv).

         In violation of Title 18, United States Code, Sections 1957 and 2.

                                  FORFEITURE ALLEGATIONS

          1.     The General Allegations section of this Indictment is re-alleged and incorporated

  by reference as though fully set fo1ih herein for the purpose of alleging forfeiture to the United

  States of America of certain property in which the defendants, CARL ALA           ZAGLIN, ALDO

  NESTOR MARCHENA, or FRANCISCO ROBERT COSENZA CENTENO have an interest.

         2.      Upon conviction of a violation or a conspiracy to commit a violation of the FCP A,

  Title 15, United States Code, Section 78dd-2, as alleged in this Information, the defendants shall

  forfeit to the United States any property, real or personal, which constitutes or is derived from

  proceeds traceable to such offense, pursuant to Title 18, United States Code, Section 981 (a)(l )(C).

         3.      Upon conviction of a violation of Title 18, United States Code, Sections 1956 or

  1957, as alleged in this Indictment, the defendants shall forfeit to the United States any prope1iy,

  real or personal, involved in such offense, and any prope1iy traceable to such property, pursuant

  to Title 18, United States Code, Section 982(a)(l ).




                                                   21
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 22 of 28




         4.      The property subject to forfeiture as a result of the alleged offenses includes, but is

  not limited to, a forfeiture money judgment that represents the amount of proceeds obtained by

  defendant from the alleged offense.

          5.     If any of the property subject to forfeiture, as a result of any act or omission of the

  defendant:

                         a. cannot be located upon the exercise of due diligence;

                         b. has been transferred or sold to, or deposited with, a third party;

                         c. has been placed beyond the jurisdiction of the comi;

                         d. has been substantially diminished in value; or

                         e. has been commingled with other property which cannot be divided

                             without difficulty,

  the United States shall be entitled to forfeiture of substitute property under the provisions of Title

  21, United States Code, Section 853(p).

         All pursuant to Title 18, United States Code, Sections 981 (a)(l )(C) and 982( a)(l ), and the




                                                   22
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 23 of 28




  procedures set forth in Title 21, United States Code, Section 853, as incorporated by Title 28,

  United States Code, Section 2461 (c) and Title 18, United States Code, Section 982(b )(1 ).

                                                       A TRUE BILL




                                                       &L~
                                                       CHIEF, FRAUD SECTION
                                                       CRIMINAL DIVISION
                                                       U.S. DEPARTMENT OF JUSTICE




  E S. RUBIN
                                                       ~z:~
                                                       PETER L. COOCH
  ASSIST ANT UNITE                                     ANTHONY SCARPELLI
                                                       TRIAL ATTORNEYS




                                                  23
     Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 24 of 28
                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                       CASE NO.: _ _ _ _ _ _ _ _ _ _ _ _ __

v.
                                                               CERTIFICATE OF TRIAL ATTORNEY
CARL ALAN ZAGLIN et al.,
                                           I                   Superseding Case Information:
- - - - --D =-e-=
                fe-n----cd.-a-nt_s__- - - -
                                                               New Defendant(s) (Yes or No)
Court Division (select one)                                    Number of New Defendants
                                                                                            ---
   l8I Miami      D Key West              □ FTP                Total number of counts
          □ FTL          □ WPB

I do hereby certify that:
  1.    I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
        witnesses and the legal complexities of the lndictment/Infonnation attached hereto.
  2.    I am aware that the information supplied on this statement will be relied upon by the Judges ofthis Court in setting
        their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

     3.     Interpreter: (Yes or No) Yes
                                     ---
            List language and/or dialect: _S_pa_n_is_h_ _ __

     4.     This case will take~ days for the parties to try.

     5.     Please check appropriate category and type of offense listed below:
            (Check only one)                       (Check only one)
            I   D Oto 5 days                     □ Petty
            II ~ 6to l0days                      □ Minor
            III D 11 to 20 days                  D Misdemeanor
            IV D 21 to 60 days                   ~ Felony
            V □ 61 days and over

     6.     Has this case been previously filed in this District Court? (Yes or No) N_o_ _
            If yes, Judge___________ Case No . _ _ _ _ _ _ _ _ _ _ _ _ _ __
     7.     Has a complaint been filed in this matter? (Yes or No) No
            Ifyes, Magistrate Case No. _ _ _ _ _ _ _ _ _ _ __
                                                                      ---
     8.     Does this case relate to a previously filed matter in this District Court? (Yes or No) _N_o_ _
            If yes, Judge___________ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ __
     9.     Defendant(s) in federal custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     10.    Defendant(s) in state custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     11.    Rule 20 from the _ _ _ _ District of
     12.
                                                       -------
            Is this a potential death penalty case? (Yes or No) No
     ] 3.
                                                                 ---
            Does this case originate from a matter pending in the Northern Region of the U.S . Attorney 's Office
            prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No
     14.
                                                                                    ---
            Does this case originate from a matter pending in the Central Region of the U.S . Attorney ' s Office
            prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No
                                                                                 ---
     15.    Did this matter involve the participation of or consultation with now Magistrate Judge Eduardo I. Sanchez
            during his tenure at the U.S. Attorney's Office, which concluded on Janua             23? _N_o_ _


                                                               By:      Ci
                                                                      Eli S. Rubin
                                                                      Assistant United States Attorney
                                                                      Court ID No .   A5502535
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 25 of 28



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            PENAL TY SHEET

    Defendant's Name: CARL ALAN ZAGLIN

    Case N o - ' - : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

    Count #: 1

    Conspiracy to Violate the Foreign Corrupt Practices Act

    Title 18 United States Code Section 37 1
    * Max. Term of Imprisonment: Five (5) years
    * Mandatory Min. Term oflmprisonment (if applicable): No
    *Max.Supervised Release: Three (3) years
    * Max. Fine: $250,000 or twice the amount of the financial gain or loss.

    Count #:2

    Violation of the Fore ign Corrupt Practices Act

    T itle 15 United States Code Section 78dd-2
    * Max. Term oflmprisonment: Five (5) years
    * Mandatory Min. Term oflmprisonment (if applicable): No
    *Max.Supervised Release: Three (3) years
    * Max. Fine: Up to $250,000 or twice the amount of the financial gain or loss.

    Count#: 3

    Conspiracy to Commit Money Laundering

    Title 18, United States Code, Section 1956(h)
    *Max.Term oflmprisonment: Twenty (20) years
    * Mandatory Min. Term oflmprisonm ent (if applicable): No
    * Max. Supervised Release: Three (3) years
    * Max. Fine: Up to $500,000 or twice the amount of the criminally derived property
    involved in the transaction.




      *Refers only to possible term of incarceration, supervised release and fin es. It does not include
            restitution, special assessments, parole terms, or forfeitures th at may be applicable.
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 26 of 28



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

   Defendant's Name: ALDO NESTOR MARCHENA

    Case No-=-:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    Count#: 1

    Conspiracy to Vio late the Foreign Corrupt Practices Act

    Title 18 Un ited States Code Section 37 1
    *Max.Term oflmprisonment: Five (5) years
    * Mandatory Min. Term oflmprisonment (if applicable): No
    *Max.Supervised Release: Three (3) years
    * Max. Fine: $250,000 or twice the amount of the financial gain or loss.

    Count#: 3

    Conspiracy to Commit Money Laundering

   Title 18, United States Code, Section l 956(h)
   * Max.Term oflmprisonment: Twenty (20) years
   * Mandatory Min. Term oflmprisonment (if applicable): No
   * Max. Supervised Release: Three (3) years
   *Max.Fine: Up to $500,000 or twice the amount of the criminally derived property
   involved in the transaction.

   Count#:4

    Money Laundering

   Title 18, Un ited States Code, Section l 956(a)(l)(B)(i)
   * Max. Term oflmprisonment: Twenty (20) years
   * Mandatory Min. Term of Imprisonment (if applicable): No
   *Max.Supervised Release: Three (3) years
   *Max.Fine: Up to $500,000 or twice the amount of the criminally derived property
   involved in the transaction.




      *Refers only to possible term of incarceration, supervised release and fines. It does not include
            restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 27 of 28




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

    Defendant's Name: ALDO NESTOR MARCHENA

    Case No-'--:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ __

    Count#: 5

    Engaging in Transactions in Cri minal ly Derived Property

    Title 18 United States Code Section 1957
    *Max.Term oflmprisonment: Ten (10) years
    * Mandatory Min. Term of Imprisonment (if applicable): No
    * Max. Supervised Release: Three (3) years
    * Max.Fine: Up to $250,000 or twice the amount of the criminally derived property
    involved in the transaction.




     *Refers only to possible term of incarcera tion, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:23-cr-20454-BB Document 3 Entered on FLSD Docket 11/29/2023 Page 28 of 28



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

    Defendant's Name: FRANCISCO ROBERTO COSENZA CENTENO

    Case N o - = - : - - - - - - - - - - - - - - - - - - -- - - - -- - - - - -- -

    Count #: 3

    Conspiracy to Comm it Money Laundering

    Title 18, United States Code, Section 1956(h)
    * Max. Term oflmprisonment: Twenty (20) years
    * Mandatory Min. Term oflmprisonment (if applicable): No
    *Max.Supervised Release: Three (3) years
    *Max.Fine: Up to $500,000 or twice the amount of the criminally derived property
    involved in the transaction.

    Count#:4

    Money Laundering

    Title 18, United States Code, Section l 956(a)( 1)(B)(i)
    *Max.Term oflmprisonment: Twenty (20) years
    * Mandatory Min. Term oflmprisonment (if applicable): No
    *Max.Supervised Release: Three (3) yea rs
    *Max.Fine: Up to $500,000 or twice the amount of the criminally derived property
    involved in the transaction.

    Count#: 5

    Engaging in Transactions in Crim inall y Derived Property

    Title 18 United States Code Section 1957
    *Max.Term oflmprisonment: Ten (10) years
    * Mandatory Min. Term oflmprisonment (if applicable): No
    * Max. Supervised Release: Three (3) years
    *Max. Fine: Up to $250,000 or twice the amount of the criminally derived property
    involved in the transaction.




      *Refers only to possible term of incarceration, supervised release and fines. It does not include
            restitution, special assessments, parole terms, or forfeitures that may be applicable.
